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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------ x
                                                       )   No. 03 MDL 1570 (GBD/SN)
                                                       )
In re Terrorist Attacks on September 11, 2001 )            ECF Case
                                                       )
                                                       )   ORAL ARGUMENT REQUESTED
                                                       )
                                                       )
                                                       )
                                                       )
------------------------------------------------------ x

This document relates to:

Federal Insurance Co., et al. v. Al Qaida, et al., 03-cv-06978
Thomas E. Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., 03-cv-09849
Estate of John P. O’Neill, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., 04-cv-01923
Continental Casualty Co., et al. v. Al Qaeda, et al., 04-cv-05970
Cantor Fitzgerald & Co., et al. v. Akida Bank Private Ltd., et al., 04-cv-07065
Euro Brokers Inc., et al. v. Al Baraka Inv. & Dev. Corp., et al., 04-cv-07279


                       DECLARATION OF STEVEN T. COTTREAU, ESQ.

        I, Steven T. Cottreau, declare that I am over the age of eighteen years and of sound mind

to make this declaration. I have personal knowledge of the facts set forth below. If called as a

witness, I could and would testify to these facts, all of which are true and accurate to the best of

my knowledge and belief:

        I am an attorney admitted in the above-captioned matter, and a partner in the law firm Jones

Day, counsel to defendant Dubai Islamic Bank (“DIB”). I submit this declaration to transmit to

the Court the following documents submitted in support of DIB’s Motion for Summary Judgment

and Renewed Motion for Dismissal for Lack of Personal Jurisdiction, filed in the above-captioned

matter on June 17, 2022.
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       1.      Exhibit 1 is a true and accurate copy of the Declaration of Mohamed Saeed Al

Sharif, with accompanying Decl. Exhibits A and B.

       2.      Exhibit 2 is a true and accurate copy of a certified English translation of the Arabic

text in Exhibit A to Exhibit 1.

       3.      Exhibit 3 is a true and accurate copy of Exhibit B to Exhibit 1 that includes a

certified translation to English of pages containing Arabic text.1

       4.      Exhibit 4 is a true and accurate copy of the Declaration of Haroun Dharsey.

       5.      Exhibit 5 is a true and accurate copy of excerpts of the transcript of the deposition

of Dr. Hussein Hamid Hassan.

       6.      Exhibit 6 is a true and accurate copy of excerpts of the transcript of the deposition

of Judge Alan Fine.

       7.      Exhibit 7 is a true and accurate copy of Deposition Exhibits 271 (excerpts), 272,

and 276 from Exhibit 6.

       8.      Exhibit 8 is a true and accurate copy of the Declaration of Abdulrahman Mohamed

Al Ansari, with accompanying Exhibits A, B, C, and D.

       9.      Exhibit 9 is a true and accurate copy of Exhibit A to Exhibit 8 that includes a

certified translation to English of pages containing Arabic text.

       10.     Exhibit 10 is a true and accurate copy of Exhibit B to Exhibit 8 that includes a

certified translation to English of pages containing Arabic text.

       11.     Exhibit 11 is a true and accurate copy of a certified English translation of the Arabic

text in Exhibit D to Exhibit 8.




1
  In the exhibits appended to this declaration, all pages that have been translated by a certified
translator are stamped with Bates numbers ending with the letter “t”.



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       12.     Exhibit 12 is a true and accurate copy of the Declaration of Amr Abou El Maaty,

with accompanying Exhibit A.

       13.     Exhibit 13 is a true and accurate copy of a certified English translation of the Arabic

text in Exhibit A to Exhibit 12.

       14.     Exhibit 14 is a true and accurate copy of the Declaration of Bader Ibrahim Abdullah

Al Maazmi, with accompanying Exhibits A, B, and C.

       15.     Exhibit 15 is a true and accurate copy of a certified English translation of the Arabic

text in Exhibit A to Exhibit 14.

       16.     Exhibit 16 is a true and accurate copy of a certified English translation of the Arabic

text in Exhibit B to Exhibit 14.

       17.     Exhibit 17 is a true and accurate copy of a certified English translation of the Arabic

text in Exhibit C to Exhibit 14.

       18.     Exhibit 18 is a true and accurate copy of a certified English translation of the Arabic

text in Fayez Rashid Ahmed Hassan Al Qadi’s account statements at DIB.

       19.     Exhibit 19 is a true and accurate copy of Plaintiffs’ Responses and Objections to

Defendant Dubai Islamic Bank’s First Set of Requests for Admission (Mar. 23, 2020).

       20.     Exhibit 20 is a true and accurate copy of Plaintiffs’ Supplemental Responses to

Defendant Dubai Islamic Bank’s Second Set of Requests for Admission (May 27, 2021) (excerpts).

       21.     Exhibit 21 is a true and accurate copy of Plaintiffs’ Responses and Objections to

Dubai Islamic Bank’s Third Set of Requests for Admission (Aug. 5, 2021) (excerpts).

       22.     Exhibit 22 is a true and accurate copy of Plaintiffs’ Second Supplemental

Responses and Objections to Dubai Islamic Bank’s Second Set of Requests for Admission (Apr.

23, 2022) (excerpts).




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       23.     Exhibit 23 is a true and accurate copy of Plaintiffs’ Supplemental Responses and

Objections to Dubai Islamic Bank’s Third Set of Requests for Admission (Apr. 23, 2022)

(excerpts).

       24.     Exhibit 24 is a true and accurate copy of “Document 3” as received from counsel

for Plaintiffs (with redactions that were not added by counsel for Dubai Islamic Bank).

       25.     Exhibit 25 is a true and accurate copy of “Document 17” as received from counsel

for Plaintiffs (with redactions that were not added by counsel for Dubai Islamic Bank).

       26.     Exhibit 26 is a true and accurate copy of “Document 31” as received from counsel

for Plaintiffs (with redactions that were not added by counsel for Dubai Islamic Bank).

       27.     Exhibit 27a is a true and accurate copy of the first part of “Document 55” (split

because of ECF size limitations) as received from counsel for Plaintiffs (with redactions that were

not added by counsel for Dubai Islamic Bank).

       28.     Exhibit 27b is a true and accurate copy of the second part of “Document 55” (split

because of ECF size limitations) as received from counsel for Plaintiffs (with redactions that were

not added by counsel for Dubai Islamic Bank).

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on June 17, 2022.




                                                     /s/ Steven T. Cottreau
                                                     Steven T. Cottreau, Esq.
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